Case 23-13359-VFP            Doc 1557    Filed 07/27/23 Entered 07/27/23 11:17:57           Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY

      Caption in Compliance with D.N.J. LBR 9004-2(c)

      D AY P I T N E Y L L P
      One Jefferson Road
      Parsippany, New Jersey 07054-2891
      (973) 966-6300
      Attorneys for Creditor
      Gotham Technology Group, LLC
                                                                  Chapter 11
      In re:
                                                                  Case No. 23-13359 (VFP)
      BED BATH & BEYOND INC., et al.
                                                                  Hearing Date: July 28, 2023
                         Debtors.


                                             STATUS CHANGE FORM

                   Pursuant to D.N.J. LBR 9013-3, the undersigned counsel for creditor Gotham Technology

     Group, LLC, notifies the Court that the matter identified below has been:

                          [ ] Settled           [ X ] Withdrawn

     Matter: Gotham hereby withdraws without prejudice the following motion: ECF No. 787 –
     Gotham’s Motion (i) to set an immediate deadline for debtor to assume or reject executory contract,
     (ii) to compel payment of related cure costs or administrative claims, or, in the alternative, (iii) for
     relief from the automatic stay.


     Date: July 27, 2023                                        /s/ Stephen R. Catanzaro
                                                               STEPHEN R. CATANZARO, ESQ.




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